Case 1:11-cv-00123-DKW-BMK Document 217 Filed 05/22/14 Page 1 of 2                                  PageID.3290
  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT

                                                DISTRICT OF HAWAII

   WENDELL TATSUMI KOGA,                                    JUDGMENT IN A CIVIL CASE
   individually, as attorney in fact for
   Ichiyo Eko Koga, and as trustee of                       Case: CV 11-00123 DKW-BMK
   the William Tsugio Koga and
   Ichiyo Eko Koga Revocable Living
   Trust, dated February 4, 1991,

                   Plaintiff,
                                                                        FILED IN THE
                     vs.                                       UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                            May 22, 2014
   EASTERN SAVINGS BANK, FSB,
                                                                     At 4 o’clock and 00 min p.m.
                                                                        SUE BEITIA, CLERK
          Defendant.
   _______________________________
   EASTERN SAVINGS BANK, FSB,

                   Third-Party Plaintiff,

                    vs.

   WILLIAM J. VROOM; ALII
   FINANCIAL CORPORATION;
   PRIORITY ONE DEBT RELIEF
   SERVICES, LLC; JANICE M. K.
   GANITANO; and SONIA M.
   EVANS,

                    Third-Party Defendants.
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  AO 450 (Rev. 5/85) Judgment in a Civil Case                                           Page 2 of 2




  [T] Decision by Court. This action came for consideration before the Court. The
            issues have been considered and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of Eastern
            Savings Bank, FSB and against Sonia M. Evans in accordance with the “ Findings
            of Fact and Conclusions of Law Granting Eastern Savings Bank’s Motion
            for Summary Judgment Against Sonia M. Evans ” filed on May 9, 2014.
            Judgment is entered against Sonia M. Evans in the total amount of
            $634,991.17 with per diem interest of $180.77 accruing on $459,403.27 of
            the $634,991.17 judgment amount from April 1, 2014 up to the date
            Judgment is entered.




                      May 22, 2014                                SUE BEITIA
   Date                                              Clerk

                                                               /s/ Sue Beitia by ES
                                                     (By) Deputy Clerk
